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               EXHIBIT B
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After Recording Return To:                                                                                                      "
Gl\'I'E.W\Y FUND!Nl DIVERSIFIED            M:lR=rJE SERllIC&S, LP
300 WEL.SII ROl\D, llL.OO FIVE
HORSHllM, PmNSYLVANIA 19044
Loan Number: 1074001467
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___________                           !Spl!u:eAbove ThIs Une For Recording DstaI


                                                MORTGAGE                                                              "••       r;:"

M[N:1000702-1074001467-3                                                                                                       ~'It-.

DEFINITIONS
Words used In mulUple sections of this documeot are defioed below and other words are defined S<ctions 3, 11;:
13, 18, 20 and 21. Certain rules reglU'din8 the usage of words used In this document are also provld In Section 16"...' ' "

(A) "Securlly Instrument" mesns this document, whlcb Is dated JANUARY                10,    ,2005
with. all Riders to this document.                                                                                 '.,~   :
(8) "Borrower'ls         MICHAEL D, SCOTT



Borrower I, the mortgagor Wider this Security Instrument,
(e) "MBRS' Is Mortgage Electronic RegtstraUoo Systems, Inc, MERS Is a separate corpOra on !hat Isacllng
solely as a nominee for Lender and Lender's successors and assigns. MERS Is the mortgagee un er tbts SecurIty
Instrument. MERS Is organized and exlsllng WIderthe laws of Delaware, and bas an address and Iepbone number
ofP.O, Box 2026, FBnt, MI 48501-2026, tel. (888) 679-MERS,                                                  '
(D) "Lender" Is GATEWAY FUNDING DIVERSIFIED                         MORTGAGE SERVICE          , LP


Lender Is a PENNSYLVANIA          LIMITED  PARTNERSHIP                                                      organized
and exlslIng Wider !he laws of PENNSYLVANIA
Lender's address Is 300 WELSH ROAD, BLDG FIVE,         HORSHAM, PENNSYL                              ANIA
19044                                                          '

(E) "Note" mew the promissory nole signed by Borrower and dated JANUARY 10,                 20
The Note states that Borrower owes Lender ONE HUNDRED EIGHTY THOUSAND
                                                       Dollars (U,S. S180, 000 .,00
Borrower bas promised 10 pay this debt In regular Periodic Payments and to pay the debt In
 FEBRUARY 1, 2035
(F) "Property" means the property that Is descrlbed below WIderthe beading "Transfer of Rights
(G) 'Loan" mesns the debt evldeoced by the Note, plus Interest, any prepayment charges and late
the Note. and all sums doe Wider this Security Instrumenl, plus Interest.



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MASSACHUSETTS-Single      Family-FannIe   Maelfrecldle Mac UNIFORM INSTRUMENT.     MERS ~
Form3022 01101                        .               Page 1 of 13




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(II) "RId.n"    m..". all Rld.n       '0
                                  lhls S.curlty Instrumen' that are ",.cnted by Borrower.           Tb.lllowing   Riden
.re '0 be.-d       by BOlTOWer(check box as 'PpUcable):

    IX! AdJUSlabl. Rate Rider                     IX! Condomln1um Rider                       0 Secon Home Rider
    o Balloon Rider                               0 Planned Unlt DewloPment Rider             IX! Other ) (sp.dJi'J
    o I-H.mlly Rider                              0 Blw<okly Paym.nt Rider ~g~UM               TO           STABLE

(I)    "Appllcabl. Law" m•••• all controlling .ppUcable federal, Sla'e •• d local SiaM •• , regul.don ordln •• ees •• d
admfnls~aljv. rules •• d ord.n (th•• have th•• !fect of low) " well " IlII 'ppllcabl. finlII, no•• 8p elll8ble judicllll
opinions.
ill    "Community AssodatJoQ Dues, Fees. and Assessments" means all dues, fees, assessments d other charges
that are Imposed on Borrower or the Property by a condominium assodatlon. homeowners assa adnn or similar
organization.
(K) "Electronic Funds Transfer" means any transfer of funds. other than a transaction originat
or simllar paper Instrument, which LsInitiated through an electronic terminal, telephonic Instrum
magnedt tape so as 10 order instruct, or authorize a financial institution to debit or credit an acc
                                I



Includes, bulls not lfmited 10, point..of.sale tramfers. automated teller machine transacdODS.
telepbon., wire Ir8nSfen, •• d automo.ed clearlngbouse lranSfen.
 (L) "Escrow Items" means those items that are described In Sectfon 3.
 (M) "MIJcall •• eous Proceods" means ony compenso.Hon, •• ttl.ment, oward of damages. or pro cis pllld by ony
third porty (other th•• In.urance proc.eds pIlid under th. covenges described In Secdon 5) for: I) damage 10, or
deslrUdlon of. th. Property: (Il) condemoadon or other taldng of all or ony part of th. Property: ( conveyance In
lieu of condemnation; or (tv) misrepresentations of. or omissions as to, the value and/or condition of the Property.
 (N) "Mortgage Insunnte" means insurance protecting Lender againsllbe nonpayment of. or d ull on. the Loan.
 (0)    "Periodic Payment" means the regular1y scheduled amount due for 0) prlnclplli •• d Inl        under th. Note,                       i
 plus (H) ony amonnls under SecUon 3 of this Security Instrument.       .                                                                   r
                                                                                                                                            >
 (P) "RESPA" m"'" the Real Estal' Settlement Procedores Act (IZ U.S.C. SZ601 et seq.) and lis lmpl.menllng
reguladon, Reguladoo X (24 C.F.R. Pm 3500), as they mlgb' be amended from Hm. 10 Hme, or                  addldonlll or
 successor legislaHoo or regulaHon th., governs th. same subject moder. A!J used In lhls Se r1ty Instrumen'.
 "RESPA" refen.o all requ1remenlS •• d reslrlcdons thai are Imposed In regard to a "federally relat mortgage 10""
 even If the ~an does nol qualify as,a "federally related mortgage loan" under RESPA.                 .
 (Q) "Successor In Interest of Borrower" means any party that has taken Utle to the Property.
 porty h" 8SSumed Borrower's obllgaHons uoder th. Not ••• dlor lhls Security !Dstrumenl.

TRANSFER OF RIGHTS IN THE PROPERTY
 ThIs Securtty InStrument secures to Lender: (Q the repayment of tit. Lo •• , and all reo
 modtficatloDS of the Note: .and (U) the performance of Borrower's covenancs and agreements
 IllSlrnOJenl •• d the No... For lhls purpose. Bonower does hereby mortgage. gnm' and convey     MERS (solely as
 nominee for Lender ond Lender'. suceesson and asstgns) •• d to th. successors ond assigns of ME S, with power of . Ii
 sllle, the follOwIng described property loc8ted In the                                                       .
                                               COUNTY of SRI STOL
               (Type of RecordlDg JurisdlctlonJ                             {Name of ReeordI:ng Jurlsdktl




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A.P.N.
               llESCRlPI'ICN
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                                                                                                                                ......          "


whlchcurrentlyhaslbeaddressof           6 ERICK           ROAD,   UNIT      52
                                                                                 ISlm!I

                   MANSFIELD                                  • Massachusetts       02 048
                         (CIty!                                                      (ZIpCocleI

       TOGl!THER WITH all the ImpnlVOlll1!lI1Snow or bereJfter erected on !he property,                 aU easemenlS;
appurtenances, and fixtures now or nertafter a part of the property. All replacements and add! ns shan abo be
covered by this Se<Urfly lnstrunti!nt. AU of Ibe foregoing Is referred to In Ihls Se<Urfly Instnunent  lb. "Property:
Borrower understands and agrees Ib.t MERS holds only I.gal dO. to Ibelnterests gnnted by Borro rln this Se<Urfly
Instrument, but. if necessary to comply wtth law or custom, MERS (as nomJnee for Lender and            der'$ successors
and assigns) has !he rtght: to ••• rcls. any or aU oflbose Interests, Indudlng. but n01 Umlted to. Ibe ghtto foredose
and saU the Properly: and to lake any aetlan requlred ofLend"lndudlng.        bolnot lImIled to, rele    and ""etllng'.     ..,
this Se<Urfty Insuument.                                                                                                " .
       BORROWER COVENANTS.lbat Borrower Is 1awfulIy •• !sod of the est!te hereby conveye and bo, the rtghl
to mortgage. grant and convey the Property end that the Ptepeny Is unencumbered. except fot nCUJllbnnces of,
record. Borrower wamnts and will defend generally the dO. 10Ibe Properly.galnst all daIms and emand" subjed
10 any encumbrances of record.                                                 .
       TIllS SECURITY INSTRUMENT combines uniform covenants for nallanal1l$O and 000                                         >
with limited varledons by Jurfsd1et1on to constllUte a uniform se<Urfly fnstrumem cowrfng real p
                                                                                                                            '                   .
                                                                                                                                    .~.
        UNIFORM COVENANTS.                 Borrower and Lender cownant and agree as follows:
        I. payment ofPrfndpaJ,        Interest, I!scrow Items, Prepayment Charges, and Lete C                • Born>Wer                                        ,
,hall pay when due the prfndpal of. and Inlmst 00, !he debt evidenced by the Note and eily p           em charges and                                      f
1'1' cherges due under the Note. Borrower ,haIl also pay funds for Es=w Items pursuonl to s.4ton 3. Payments
due und"lIt. Note and this Securfly lnstrunti!nt shall be made In U.S. comnC)' .. However. If e!>Y ched< or ollt"
lnstrume01 n:ceIved by Lender as payment under lite N01e or lh1s Se<Urfly Instrumenl Is returned 0 Lender unpaid,
                                                                                                                                                           !
Lender may requite lItat any or aU •• bseque01 payments due under Ibe Note and this Seeurfly             enl,", mad, In




                                                                                                                                                           I
one or more of lite rollowlng forms, as selected by Lender: (a) OlSh: (b) mooey order: (c) certified eclt. bank clteck,
tre3SUI'e1', check or cashier's check: provided any such check ls drawn aponnn institution wbosed      oslts are tnsured
by a federal agency. InstnunenlaJIly, or endly: or (d) Electronlc Funds Transfer. '
        Payments are deemed received by Lender when reatved at the JocaUon designated in the N te or at such other
locadon as may be designated by Lender In a,c:ontonce wllb Ibe nod •• provlslons In Sectlon 15.          der may •• tum
 any payment or partial payment If th' paymenl or jiartlal payments a•• lnsuffide01lO hrfng the Lo com01. Lender ....




                                                                                                                                                           I
 may accepl any payment or perdal paymenl Insuffide01'O brfng lite Loan current, wllbonl             ver of any rfghlS
 hereunder or prejucUce to Its rtghts to refuse such payment or partlal payments In the future.        t Lender is not




                                                                                                            r
 obligated to apply suclt payments al the time such p;yments ere accepted. If eaclt Perfndlc Paym       .1$ appUed as of
 tIS scheduled due dale. then Lender Deed n01 pay Inlerest on unapplled funds. Lender may hold su unapplied fuods
 untlI Borrower makes paym,n"o brfng the Loan CIIrTe01. lfBorrower does not do so wllhln a                    Ie perfod of
 time. Lender ,hall ellber apply such funds or returo them 10.Borrower. If not applled wiler, loclt funds will be .,.                                      r.
 applled to Ibe outstanding prfndpa1 balance under the Note immediately prfor ~ foreel.......            offset or el~,~



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which Borrower might have now or in the future againsl Lender shall reUeve Borrower from maktn payments due
under the Note and this. Security Instrumenl or perfonnlllg the co•••••• ts und agreements secured          tl11sS<curIty                      f
lnstrumenl.                                                                                                                                    i
        2. Appllcatlon of Payments or Proceeds. Ilx<opt as olherwf.se desalbed 10 this Sedloo • all paym.nQ                                    ~
accepted and applied. by Lender shall be applied 10 the followtog order of priority: (0) tnterest due der the Note;
                                                                                                                                             I
                                                                                                                                               t
 (b) prlndpal due under the Note; (c) amounts due under Sedlon 3. Such paym_           shall be applied   each Perlodlc
Paymenlln the order In which it became due. Any remaining amounts shall be apphed ftrst 10 lale                es •.second                   r.
to any other amouoQ due under this Securtty Instnunent. and men to reduce the prlodpal balance           the Note,
        If Lender receives a payment from Borrower for a dellnquent Periodic Payment which Inel des a suffident
amount to pay any late charge due, the payment may be applied 10 the delinquent paymenl and the late charge. If
                                                                                                                                             !
                                                                                                                                             ?'

more thaD one Periodic Payment Is outstanding, Lender ~ apply any payment received from OTrOwet to the .
repayment of the Periodlc Payments If. and to the extent that. each payment can be pald 10 fu!l. T the extent that
any excess exists after the payment is Ilpplled to the full payment of one or more Periodic Payments,
be applied to any late charges due. Voluntary prepayments shall be applied flrst to any prepayment
as described in the Note.
                                                                                                          ch excess may.
                                                                                                                  and then                   t
                                                                                                                                             ~
                                                                                                                                             ~
         Any appUcatioo of payments, Insurance proceeds, or MJscellaneous Proceeds to prindpaJ du
 shall not extend or postpone the due date, or change the am011J1t,of Ihe Periodic Payments.                                                 ~
         3. Funds tor Escrow Items. Borrower shall pay to Lender on the day Periodic Payments                                              fr
 Note, until the Note Is pald 10 fu!l. a sum (the "Funds") to provide for paymenl of amounts due I                                         ,
 assessments and other Items which can attain priority over this security lnstrwnenl as a lien or en
 Properly: (b) leasehold payments or ground renls on the Properly. If any: (e) premiums for any
                                                                                                                                           t
 required by Lender under Sedlon 5: and (d) M9f!gage Insurance premiums. If any, or ODYsums
 to Lender In lieu of the payment of Mortgage Insurance preml1lJllSIn accordance with the provlslo of Sedlon 10.
                                                                                                                                           ~
 These Items are called "Es<:row Items." At orlgloaUon or at anytime dur!ng the term of the Loan.       dermay require
 thai Community AssadaUon Dues. Fees, and Assessments, If any. be •• crowed by Borrower. and su du••• fees and                            t,
 assessmenQ shall h. an Escrow Item. Borrower shall prompUy _                to Lender aU notic •• of        ts to be pald              ;
 under thJs Section. Borrower shall, pay Lender the Funds for Escrow Items unless Lender                ves Borrower's
 obllgattoo 10 pay the Funds for any or all Escrow Items. Lender may walve Borrower's ohllgaUon 0 pay 10Lender                            Ii
 Funds for any or all Escrow Items at any time. Any such waIver may only be 10writing. lnlbeeven of such walver.                          ~
 Borrower sl1aJJpay directly. when and where pnyahle. the amounts due for any Escrow Items for            ch payment of                   y.
 Funds bas been walved by Lender and. If Lender requlres, sball furnish to Lender recelpts .vlden       g such payment .
 within such time period 85 Lender may requ1re. Borrower's obligatlon to make such payments and to provide receipts                    ~,
 shaD for all purposes be deemed to be a covenant and agreemenl contained in Ibis Security lnstrum nl. as the phrase
 Mcovenanf and agreement~ is used In section 9. If Borrower is obligated to pay &crow lIems dire y. pursuant to
 a waiver, and Borrower falls to pay the amount due for an Escrow Item, Lender may exercise lis rl ISunder Seclion
 9 and pay such amount and BoJTOWershaD Iben be: obligated under Section 9 to ~              to Lender
 Lender may revoke the waiver as to any or all Escrtiw Items at any time by a notice given In a
                                                                                                           such amount.
                                                                                                         ce with Section
                                                                                                                                       ,t

 15 and, upon such revocation, Borrower shall pay 10 Lender aU Funds, and in such amounlS, that e then required
 under this section 3.
         Lender may. at any time. collect and bold Funds 10 en amount (0) sutlIdenl to permit                                          ~
 Funds at the time sp~ed      under RESPA, and (b) not to exceed the maximum amounl a lender
 RESPA. Lender shall estimate the amount of Funds due on the buts of currenl data and teas
 expenditures of future Escrow Items. or otherwise 10 accordance with Applicable Law.
         Tbe Funds shall be bald 10 an Institution wltose deposits are Insured by a federal agency,
                                                                                                                                       i
 entity (Includlng Lender. If Lender ts an InstltuUon wltose deposits are so Iosured) or In any Fed                                    ~
 Bank. Lender sball apply the Funds to pay the Escrow Items no later than the time spedlled under
 sball not charge Borrower for boldlng ODdapplying the Funds, annually analyzing the escrow ac nt. or verifying                        fI:
 the Escrow Items, unless Lender pays Borrower Interest on the Foods and Applicable Law perm! Leader 10 make
 such a charge. Unless an agreement is made In writing or AppUcable Law requlres Interest to be p d on the Funds,
 Lender shall not be required ~ pay Borrower any Interest or earnings on the Funds. Borrower and nder can agree                       r,
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In wrltlng. however. lIlat Inlerest ahaIl be paid 00 lIle Funds. Lender shall give to Borrower, wi out charge, ae
annual acc"-g        of lIle Funds as r<q1dred by RESPA,                                             ,
        Ifill", Is a surplus of Funds held In escrow, as daDned under RESPA, Laeder shaD ae<nUDI 0 Borrower for
theexeess funds In accordance with RESPA. If lIlere Is a sbomge of Funds beld In "",ow. as del1ne 1IIIderRESPA; "
Lender shaD notify Borrower as required by RESP A. and Borrower shaII pay to Lender lIle amount n                  to make
up the shortage in accordance with RESPA. but tn no more than 12 monthly payments. If there ls a defletency of
 Funds held In escrow, as del1ned under ilEsPA, Lender shaD notify Borrower as required by RESP ,and Borrower
sball pay 10Lender lIle _WIt necesstuY to make up lbe deBdency In accordaeee wllIl RESPA. bul no more lhan
 12 moolllly payments,
        Upon paymenl In full of all sums secured by IIlIs Security instrument, Lender shall pro ptly refund to
 Borrower any Funds beld by Lender,
         4. Charges: L1.... Borrower sbaD pay all ••••• , assessments. charges. Bnes. aed Impo ons aUribulable
 10 the Property \Yldch can attain priority over IIlIs Security lustrument, leasehold paym_        or      d rents On lIle
 Property, If any, aed CommunIty A3sodatioo Dues, F•••• aed Assessments. If aey. rollle extent IIlat lIlese Items
 are Escrow Items, Borrower shall pay lIlem In lIle maener provlded In SecUoo 3,
         Borrower shall promptly dlscha'8e any lien wblch bas priority over tbls Security InsIromenI
 (0) agrees In wrltlng to lIle paymenlofllle obllgatioo secured by lIle hen In a manner acceptable to          er, but only
 so long as Borrower Is performlng such agreement: (h) contests lIle hen In good fallll by, or defends agaInsl "
 enforcement of Ute Jlen In. legal proceedmgs whlch In Lender's opinJon operate to prevent the enfo         ent of the Den
 wblle lIlose proceedIngs are pending, bul only untIl such proceedings are concluded: or (c) so          from lIle holder
 of the Ilea an agreement sausfactory to Lender subordinating the Uen to this SetUrlty Itistrum t.. If Lender
 determines lIlat any part of lIle Property Is subject to a hen wblch can altllln priority over this Se    ty I_ael,
 Lender may give Borrower a notice Identifying !he lien. Wttbln 10 days of lIle date on whlcb Iba notice Is gtveo. '
 Borrower shall sadsfy the Den Of take ODe or more of the sedans set forth above in this Section 4.
         Lender may require Borrower to pay a one.tlme charge for a real estate tax verification and/or reporting smice
 used by Lender in oonnecdon with this Loan.
         5. PrOperty Insurance. Borrower shall keep the improvements now exlsttng Dr hereaft erected on the'
 ProperlY Insnred agalnslloss by fire, hazards Included wltbln the term "extended coverage," aed y olller hezards
 including, but not llmlled 10, earthquakes aed floods, for wblch Lender requires lnsurenee. Tbls suraece sbaD be
 molntalned In Ibe amounls (including deductible levels) aed for the periods IIlat Lender r              . Whal Lender
 requires pnrsuaello lIle preceding Senlences can chaege durtng Ibe term oflbe Loae. Thelnsuren         wrler providing
 lIlelnsuraece sbaD be chosen by Borrower subject to Lender's right 10disapprove Borrower'scbolce which rlgblshaD
 aot be exercised ulireasooably. Leader may require Borrower 10pay, In connecUoa wllb this Loae elther: (0). ooe-
 Ilme charge for flood zone determination, eertlflcation and tracklng,servlces: or (b) • one-Ilme c         for flood zone
 determlnaUonand cerUBcadoa services and suhseqnenl charges each llme remapplngs or sIm1IJlr              gas occur wblch
 reason.ably mlghl affect such determlnatioo or certlflcaUoa. Borrower shall also be responsible i r the payment of
 aey fees Imposed by lIle,Federal Emel'lJOncy Mao.gement Agency In coonecUoo wllIl the review f any Bood zone
 determination resuldng from an objecUon by Borrower.                                                                 .
         If Borrower faIls 10malnleln any of the coverages described above. Lender may olnoln              ee cavenge. al
 Lender's option and Borrower's eXpense. Lender Is under no obhgadon to purchase any partlcul type or amount
 of coverage. Therefore, such coverage shall cover Lender. but mlght or might not protect Bo wer, Borrower's
 equity In lIle Property, or Ibe contents ofllle Property, against aey risk, hazard or IlablUty aod ml I provide grealer
 or lesser coverage tban was previously In effect. Borrower acknowledges that the cost of the               til coverage so
  oblolned mlghl stgnlfIcantly exceed lIle cosl oflnsuraece Ihet Borrower could have obtained. Aoy aunts disbursed
  by Lender under !his Seedon 5 shall become additional debl of Borrower secured by this Security                ent. ,These
 amounts sball btu interest at the Note rate from the date of disbursement and shall be payable,          tb such interest,
 upon noUce from Lender to Borrower requesting payment
    , AD lnsurence polldes required bY Lender aed reaewals of such policies sbaD be subject t Lender's righlto
  cHsapprove such policies. sballlnclude a standard mortgage clause, and shall name Lender as mort              and/or as an
  addltionall •• s pay ••• Lender sbaD have lIle rlgbl to hold lIle'pohcles aed raeewal c.rtIIlcales. I Lender requires,
  Borrower sbaII promplly give to Lender all recelpts of paid premlwns aed renewal notices. If Bo                obtains any



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 form of Insurance covemge, Dot otherwise required by Lender for damage to, or destrucdon of, e Property. such
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 polley shalllnclude a standard mortgage clause and shall name Lender as mortgagee and/or as    addldonal toss
 payee.
       In the event ofloss. Borrower shall give prompt nodce to the tasuraace c:arrfer and Lender.      der may make
 proof of   I.".If not mad. promptly by Bnrrower. Unless Lender and Borrower oth.rwIse agr In writing, any
 Insaraoc' proc.eds, wh.ther or nol the onderlying Insurancewas requlred by Lend.r. shall be app .d to restoratloo
 or repalr of lb. Property, If the restoratio. or repalr Is .co.otnIcaIIy feaslble and Leoder', seaui Is .olrossenro.
 DurIng,uch repair and restoradon p.rlod, Lend.r ,hall have the rlgbt to hold soch Iosurance p            until Lender
 has bad •• opporlunlly 10 Inspect such Property 10 ensure lb. work has been compl.ted to Len er's satisfaction,
 provided Ibal sucb Inspecdon shall b. ond.rtak.n promptly. Lender may dlsbur>. proceeds ~ lb. repairs •• d                                     ,
                                                                                                                                                "
 restoradon in 'a single payment or In a series of progress payments as the work is completed.
 Is mad. tn wrltfng or Appllcabl. Law requires Interest 10b. paid on ,uch tnsurance proceeds.
 required to pay Borrower any Interest or earnings on such proceeds. Fees for publlc adjusters, or
                                                                                                  U       an agreement
                                                                                                      nder ,ball not b.
                                                                                                       er 1hiTdpaitles.
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                                                                                                                                                ;
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 retained by Borrower shall not be paid out of the lnsurance proceeds and shall be the sole obUga on of Borrower.
 If therestoration or repair is not economfcally feasible or Lender's secudtywould be lessened. the I rorance pro~                              =
 shall be appUed to the sums secured by lhis Security Insbumenl, whether or Dot then due, with the cess,lfaoy, paid
 to Borrower. Such Insurance proceeds shall be appUed In the order provided for In Section 2.
         If Borrower abandons the Property, Lender may fUe, negotlate and settle any avaIlable
 related matters. If Borrower does not respond within 30 days to a noUce from Lender that the
 offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day period           begin when the
 notice is given. In either event, or lfLender acquires the Property under Section 22 or otherwise, Borrower hereby
  asstgns to Lender (a) Borrower's rtght3 to any Insurance proceeds In an amount not to exceed " amounts unpaid
 uoder the Not. or this Security !nsU'wllent,•• d (bYany other of Borrower', rtgbts (other thao the gblln any refund
 of onearn.d prernl1lDlS paJd by Borrower) onder all InsurancepoUd•• cnvertng the Prop.rty.         far as such rtgbts
 are appllcable to the coverage of the Property. Lender may use the Insaranee proceeds either to           or restore the
 Property or 10pay amounts unpaid under th. Nnte or this SecurltyInstiumenl, whether or IlOlth tfne.
       6, Oc:euponcy, Borrower ShaUna:upy••••• bllsh. and use th. Property Os Borrower',           dpal residence
 wttbfn 60 days after the exetUdon of this SecurityInstrumenland,hall contlnu. to oc:eupythe Pro    as Borrower',
 prlndpal residence for at 1•••• on, year after the date of occupancy.unI.ss Lender oth.rwIse    In wrldng, whlch
 consent shall not be unreasonably withheld, or unless extenuating drtamstanees exist which are b nd Borrower's
 control.
         7. Preservation, Maintenance and Protection of the Property; Inspections. Borro         shall not destroy,
 damage or Impair the Property, allow the Property to deteriorate or c:omm1t waste on the Prope . Whether or not
 Borrower Is resldfng I. lb. Property, Borrower ,ball malnlaln lb. Property tn order to prevent • Property from
 deteriorating or decreasing in value due to its condition. Unless It Is detennlned pursuant to Seeti n 5 Chatrepair or
 restoration is not economically feasible. Borrower shall promptly repair the Property if dam          to avoid further
 deterioration or damage. Iflnsuranee or condemnation proceeds are pald In connection wJth              to, or the taking
 of, the Property, Borrower shall be responsible for repairing or restoring the Property only If       der bas released
 proceeds for such purposes. Lender ~ay disburse proceeds for the repairS and restoration In a gle payment or In
 a series of progress payments as the work is completed. lflhe Insurance or condemnadon procee are not suffldent
 to repair or restore the Property. Borrower Is not reUeved ofBorrowerls obUgadon for the compl on of such rep3ir
 or restoratJon.
          Lender or Its agent may make reasonable entries upon and inspections of CbeProperty.         It has reasonable
 caus., Lender may Inspect the tnl.rior nflb.lmprovements on the Property. Leader shall glve orrower noticeat
 lb. tim. of or prlnr to such an tnt.rlor lnspecIlon.lpeclf'ylngsuch reasonabl. cause.
        8, Borrower', Loan Application, Borrower ,ball b. tn default If, during the Lo••          lleatlon process,
 BolTOWef or any persons or entities acting at the direction of Borrower or with BoiTOwer's knowt   or consent gave
 materially false, mIsleading, or inaccUrate fnfonnaUon or statements to Lender "(orfalled to     vld. Leader with
 material lnformaOon) In coonectlon With the Loan. Material representations include, but                nol Umlted to,
 representations concerning Borrower's occupancy of the Property as Borrower's principal rest          ce,




 MASSACHUSETTS-SIngle       Famlly-Fennle     MaeIFreddie Mac: UNIFORM INSTRUMENT.   MERS ~
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        9. Pn>tettio. of LeDd ••••• Interest In the Properly and RIghts UDd••• thls Security                    ent. If (.)
IIom>wer f.lI, to perform the =anls           and ogroement5 contalned In lhls Secarlty Imtrument. (b) there Is • legal
proceedJng thzt might stgnl/lcanlly affect Lender's Inltn!Slln Ibe Property and/or rIglrts ODderlhls        ty Insttument
(such as a proceedJng In banknJptcy. probate, for condemnation or forfeJture, for enforcement of a len which IIl3J'
.ttaln priority over lhls Security Inslr1lJllenl or to ..cOrte laws or reguI.tions), or (e) Borrower h abandoned Ibe
Prop"rty. Iben Lender may do and pay for wh.tever Is rusonahle or approprtale to protect Lender In_                   In Ibe
Property and rights under lhls Security Instrument, tndudlng prolectlng andlor assessing the voIue fthe Property •.
and stalrlng and/or repairing Ibe PrOperty. Lender's actions eanlnclude, hut are not llmtted 10: (a)           8 any"'" ,
Sea1red by a Uen which has priority over lhls Secarlty Instrument: (b) appearing In court: and (e) p            rusonable
anorneys' fees 10protect Its Interest In Ibe Property and!orrlghts underlhls securltyimuument,       In         IIs,ecured
 position In. bankruptcy proceedlog. Secarlog the Properly Includes, hut Is no1llmtted tn. entering Ibe Property 10
 lMke repalrs. cbange locks. ruplnce nr hoard up doors and windows. draln waler from pipes. eJ              Ie hu1Idlng or
other code violations or dangerous conditions, and have utilities turned on or off. Although Lender          y take adlon
 under this Section 9, Lender does not have to do so and Is not under any duty or obUgatlon to do so. t Is agreed that
 Lender mcms no Uabillly for not taJditg any or all li'ctfons authorlzed under thIs Section 9.
        Any omounts d1shnrsed by Lender ander lhls S<dlon 9 sholl hecome addltinnal debt ofHo wer ,ecuredby
 ibis Security Instrument. These omnuilts ,boll bur Interest at the No1e rate from the dote of dis        ement and sholl
 he payahle, With such Inlerest, cpon notice from Lender to Borrower "'I"estlDg payment.
        If lhls Secnrlty Imtrument Is on a leasehold. Borrower ,holl comply wlib oil the provisions
 Bnrrower acquires fea tiCa tn the Property. the leasehold and the fea title sbo1l no1 merge noless
 merger In writing.
         10. Mortgage !nsunDce.        If Lender required Mongege InsureDce as a cml1lInon of
 Borrower sholl pay Ib" premlums required to maintain the Mortgage InsureDce In effect. If, fo
 Mongege Insurance cove"Se requJred by Lender ceases 10 ba aval1able from the mOf1glg8
 provided such lnsut8nce and Borrower was required to make ,epontely deslgn.ted payments t                   the premIuJns
 for Mortgage Insurance, Borrower .haJJ pay the premlums required 10 ohlaln coverege suhstantloJly ulvalent to the
 Mongage Insurance previously In effect. at a cost substantiaDy equlvaJent to the cost to Bonower f the Mortgage
 Insurance prevtously In elTect, from an altemate mortg.ge Insurer selected by Lender. If su             tiolly equivalent
 Mortgage Insurance coverage Is not available. Borrower shaJ1 continue (0 pay lo Lender the amount fthe sepantely
 designated payments that were dne when the Insurance coverage ceased to ba In effect. Lender M aceepl, nse and
 retain these payments as a non.refundlble loss reser:ve In lIeu of Mortgage Insurance. Such loss        rve shaD be non-
 refundable, nolwtthstandlng Ibe fact th.t the Loan Is u1_ely       patd In full. and Lender shaJJ not b "quJred to pay
Borrower any interest or earnings on such loss reserve. under can DO longer require loss                       paymtnts If.
MoJ1B3geInsurance coventB' (In the omount and for the period !hat Lender "'I"Ires) provided by In""" selected ,
by Lender 'galn beoomes avoI1ahle, is o_ed,          and Lender "'I"Ires sepante1y designated p             toward the .
pmnlums for Mongagelnsurance.         If Lender required Mortgege Insurance as a DOodltlon of            Ibe Loan and .
Bo""Wtr was •• quti-ed to make 'eponleJy designated payments lowerd the premlums for M                       Insurance,
BorroWer ,holl p.y the premlums required to malntaln Mortgage Insurance In affect, or to provtde OQO.refund.hle
loss reserve, lintll Lender'. iequtrement for 'Mortgage Insurance ends In ac:aDdance \\1th any         nen agreement.
hetween Borrower and Lender provIdlng for such termination or no1U teimInatIon Is "'I"1red by ppUcable Law: '
Nothlng In thts S<CUon 10 affects Borrower', ohUgation In pay Interea1 " the •• te provided In the ole.
        Mortgage Insunnce reJmburses Lender (or any eotlly !hat purchases the Note) for cenaJn            It may Incur .
If Borrower does not repay the Loan as agreed. Borrower Is not a party to the Mortgage Instiran
        Mor1gage insurers evaluate their total risk on tll such lnsuranet In force from tlme to time. d may enter Into
agreements with other parties that sh~ or modify their risk. or reduce losses. These agreemen ~ on terms and
condlUons thai are satisfactory 10 the mortgage insurer and the other party (or put1es) 10 Illese       mena. These
8g1'e1!ments may requltt the mortgage insurer to make payments using any source offtmds that the          gage insurer
may bave avaIlahle (which may Include funds oblalned from Mortgage Insurance premlums).
        As a result of these Bgreemen~. Lender. any purchaser of the Note. another lnsurer. any re nsurer. any other
entlty, or any aflUtate ofany oflbe foregoing, mayr'ece\Ve (dlreclly or 1ndlred1y) amounls that derI from (or mlghl
he choneterlzed as) n portion of Borrower's payments for Mortgage Insurance, In exchange for.           gar modlfylng



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the mortgage Insurer's risk, or reducing losses. If such agreflment 'provides that an affiliate of Len er takes a share
of the insurer's risk In exchange for a share of the premiums paid to"the InSUrer. the arrangem        Is often termed
"eapUve reinsurance. Further:
                      II

        (a) Any such agreements wIl1 not affect the amounts that Borrower has agreed to p
 Insurance. or any other terms of the Loan. Such agreements wm Dot increase the amount
 for Mortgage Insurance. and they wUl not odde Borrower to any refund.
        (b) Any such agreements wIl1 not affect the rights Borrower haa -If any • wlth respect
 Insurance under the Homeowners Protection Act ofl998 or any .ther law. n•••             rights may
 to receive certain disclosures, to requesf and obtain caacelladon of the' Mortgage
 M.rtgage Insurance lerminated aul.madca1ly, andl.r t. receive armmdofany            Mortgage
that were unearned at the time of such canceJ]adoD or termlnadon.
        11. AalgnmenlofMkceDane.          •• Proceeds: Forfell1lJ'e. All MIscellaneous Proceeds are b
and sball be paid 10 Lender.
        If the Property Is damaged. such MlsceD •••• us Proceeds sbaII be applled t. restorad.n or repair of the
Propeny. Ifthe restorntlOD or repair Is economically feasible and Lender's securtty is not lessened.       gsuch repair
and restoration period, Lender shall h.ave the right to hold such Miscellaneous Procel!!ds untU nder has had an
opportunIty to inspect such Property to eMll'e the work has been completed 10 Lender's satisfactl n, provided that
such Inspection shall be undertaken promptly. Lender may pay for the repairs and restoration In a      Ie disbursement
or in a senes of progress payments as the work is completed. Unless an agreement Is made in wri           or AppUcabJe
Law requires interest to be paid on such Miscellaneous Proceeds, Lender shall not be required (0         Borrower any .
interest or earnings on such MisceU8J!.eous Proceeds. If the restoration or repair Is not econ        caDy feasible or
Lend.,.'s "curtty would be lessened, the Miscellaneous Proceeds sball be applled t.the soms"            by this Securlty
Instrument. whether or nol then due, with the excess. if any. paid to Borrower. Such Miscellanea         Proceeds shall
be applled In the .rder provided for In Seedon 2.
        In the event of. Iota! taking, destrucdon, or loss In value .f Ibe Property. the MIsceI!lln
be applied to the sums secured by thls Security Instrument, whether or not then due, with the ex
BOlTOWer.
         In the evenl of a pardal taking. destrucdon. or I.ss In value of the Property In whIch the
the Property ImmedtstoIy before the plirtIaI taking, destruCO.n, or 10S'l1nvalue Is equal to or grea than the amouol
.f the soms secured by this Securlty Iostnnne.t ImmedIatoIy bef.re the plirtIaI takIng, destrucdon .r lass In vaI.e.
uuless Borrower and Lender otherwise agree In writing, the sum' secured by this Setorlty'              sbaII be reduced
by the am.unt of the MIscellaneous Pr.ceeds muIdplled by the foll.wing fracdo.: (a) the tolal             t of the soms
"cured ImmedIately bef.re the partlailaldng, destrucd.n, .r 10S'lIn value dMded by (b) the falr m          I value .fthe
Property Immediately before the plirtIaI laIdog. destnlcdon. or I.ss In value. Any balance shall be aid to Borrower.
        In the event of a partial taking, d~ctloD. or loss in value ufthe Property ,Inwhich the fa! market value of
the Property Immediately before the partial taking, deslrUctlon. or loss in value is less than the aunl of the sums
secured immediately before the partiallaklng, destroctlon, Dr loss in value, unless Borrower and          der otherwise
.gree in writing. the Miscellaneous proceedS sball be .ppll<d 10lb•••••• s.cored by this Security            en' wbetber
or not the sums are then due.                                          .
         Ifth. Property Is abandoned by B.rrower, or If, after nodce by Lender I. Borrower'that         OpposIng Parly
                                                               '0
 (as defined in the next sentence) offers to make an award settle a cla1m for damages, Borrowtr          , I. respond to
Lender withIn 30 days after the date the nodce Is gIven. Lender Is authorized to c.lleet aud apply e MIscellaneous '
 Proceed, elther 10 restoradon .r repair .f the Pr.perty or to the sums secured by this Setorlty               t, whelber
 or not then due. "Opposing Party" means the IbIid party thaI owes B.rrower MIscellaneous P              ds or the party
 against whom Borrower bas a right of acdon in regard to MIscellaneoUs Proceeds,
         Borrower shall be in default if any action or proceeding. whether dv1l or crlmlnal. is b
judgmenl, could result In f.rfelture of the Property.r oth.,. mater!aI Impairment of Lender's Int
 or rights under this Setorlty !mtrument. 'Borrower can cure such a default aod, If accelerod.o bas ccurred, reinstate
 as provided In Seedo. 19, by causIng the oedon .r proceeding to be dtsmissed with a ruling                               ":.,.
j.dgmeot, precludes forfeIture of the Property .• r other material Impalrmeot of Lender's Interest




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dghts under lhls Seaulty Instrwnenl. The proceeds of any award or claim for damages that are
lnqlalrmeot of Lender's Interest In the Property are hereby asslgned and shaU he pilld 10 Leoder.
         All MIscellaneous Proc:teds that are not appUed to restoraUon or repate of the Property shsU applied In the .•'
order provided for In Seedon Z. '                                                       "                                "
          1Z. Bnrrower Not Released; ForbearanCe By Lender Not a        W_.       Extenstnn of the tim for payment or
modiftcadon of amo~on of the sums .secured by this Security Instrument granted by Lender to orrower or any
Successor in Interest of Borrower shall not operate to release the ltablllty of Borrower or any Su         ors in Interest
of Borrower. Lender shall not be required to commence proceedings aga1nst any Successor In In
or to .refuse to extend dme for payment or otherwise modify amortization of the sums secured y this Security .
Instrument by reason of any demand made by the original Borrower or any Successors in Interest of rrower. Any
forbearance by Lender in exercising any right or remedy includIng, without J1mitlltion, Lender' acceptance of
                                                                                                              of Borrower

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 payments from third persons, entitles or Successors In Interest of Borrower or In amotmts less than e amount then
due. shall not be a waiver of or preclude the exercise arany right or remedy.
          13. Joint and Se...-al Uabillty; Co. signers; S.cWSlJnand AsslgnsBound. Borrower cov ants and agrees
                                                                                                                                        t,
                                                                                                                                        >
 that Borrower's obligaUons and Uabtllty shall beJoint and several. However. any Borrower who co-             lhls Seaulty
 Inslrnment bot does not execute the Note (a "co-sJgner'): (a) fHO.sIgnlng Ihls Seeadl)' Instrument         to mortgage,              ~
 grant and convey the co-slgner's interest tn the Property under the terms of this Security               ent; (h) Is not
 penonally obUgated to pay the sums secured by thtS Seaulty Instrument; and (c) agrees that Lend and any other"                       ~



                                                                                                                                    It
 Borrower can agree to extend, modify. forbear or make any accommodadons with regard to the               oflhls Seaulty
 Instruinent or the Note without the co.slgner's consent.                                                                  "
                                                                                                                            "

          Subject to the provisIons of Se<Uon 18. any Sneeessor In lnlerest of Borrower who
 obUgaUons under lhls Seaulty Instrumentln writing, and Is approved by Lender, shaD obtilln all of
 and benefits under ,this Secndty Instrument. Borrower shaU not be released'from Borrower's oh
 Mder this Secudty Instrument unless Lender agrees to such release In wrltlng. The COVI!lI8Iltsand
 Secudty Inslrnment shaU bind (excepl as provided In SeeUon ZD)and benefit the suceesson and
          14. Loan Charges. Lender may charge Borrower fees for servlces performed In COMeed                                        ~
 default, for the purpose of prote<ting Lender's Inl.,..t In the Propedy and dghts Mder Ih1s S
 including. but not limited to, attomeys' fees. property Inspection and valuaUon fees; In regard to                                 J
 absence of express aumorll}' In this Security Instrument to charge a spectflc fee to Borrower s       not be construed
  "a prohihlUon on the charging of such fee. Lender may not cbarge fees that are expressly prohihlt by this Security ,
 Instrument or by AppUcabIe Law.                                    '
                                                                                                                                    j
                                                                                                                                    ~
          If the Loan ts subject to a law which sets maximum loan charges. and that law Is finally Int     ted so that the
  Interesl or other loan charges collected or to be collected in connectton with the Loan exceed the permitted Omits,
  then: (a) any such loan charge shall he reduced by the amount ne<essuy to reduce the charge to
  and (h) any sums alreadY collected from Borrower which exceeded permitted Umlts wI11be
                                                                                                        pennttted Umll:
                                                                                                        ed to Borrower.
                                                                                                                                    1
                                                                                                                                    1;
 Lender may choose to make Ih1s refund by reducing the prlnclpal owed under the Note or by m           a direct paymenl
  to Borrower. If a refund reduces prlndpal. thereducdon wlll be treated as a partial                   ent withOut any
  prepayment charge (whether or not il prepayment charge Is prnvlded for Mder the, Note). Bo             's acceptance of
 any such refimd made hy dtrect payment to Borrower wlll constltute 0 waiver of any tight of ocd Borrower mlghl
                                                                                                                                    ,
                                                                                                                                    ~
                                                                                                                                    (
  have arising out of such overcharge.                                                                      .                    ij

          15. NoUces. All noUces stven hy Borrawer or Lender In connection with Ih1s Security                                    ~
  In wrltlng. Any noUce to BoJrower in connection with lhls Seaulty lnstrnment shaD be deemed t have been given                  f:
  to Borrower when mailed by fint class mall or when actually deUvered to Borrower's nodce ad ss if sent by other                ~
 means. NoUce to any one Borrower shall consdtute notice to aJi Borrowers unless AppUcabie Law xpressly require.!               ~:
  otherwise. The notice address shatl be the Property Address unless Borrower has designated           substitute notice
  address by noUce to Lender. Borrower shall promptly notify Lender of Borrower's chang! of             ress. If Lender
  specifies a procedure for reporting Borrower's change of address, lhen"Borrower shall only report change ofaddress
  through that spedfied procedure. there may be only one designated noUce address under lhls S              ty Instrument
  at anyone _.       Any noUce to Lender sball be stven by deUverlng it or by malllng It by fint d     mall to Leoder',
  address stated herein unless Lender has designated another address by notice 10 Borrower. Any n dee In connection             I.
  wilh IhJs Security !nstnlment shall not be deemed to have been given to Lend~runtil actually re ived by Lender.



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If any notico fl!«Ulred by this Security Instrument Is also required onder Applicable Law, the ppllcable Law',
requirement wlU satisfy the ~pond1ng requirement under thIs Security Instrument.
          16. Govemlng Law: Severability: Rules of ConstJutlfon, ThIs Security Inslrumenl aball e gowrned by ..
federal law and the law of the jurlsdltUon In which Ihe Property Is located. All righ" and ohllgati a contained In .
Ihis Security Inslrument are subject to any requJremen" and limitations of Applicable Law. Appll ble Law ralght:
expllcltly or impUcitly allow the parties to agree by contract or It might be silent, but such sUe ce shall not be
construed as a prohibition against agreement by contract. In the event that any proviston or cia          of this Secutlty
\nstnunenl or the NOle conflicts wtth Applicable Law, such COOfllclShaIInot affect other provlsions of this Security .
Instrument or the Note which can be given effect without the confllc:dng provlston.                                          '
          As used 10 this Security Instrument: (a) words of the mascollne gender ,ball mean and Inclu
neuter words or words of the feminine gender; (b) words In Ihe singular ,ball mean and Include th
verse; and (e) the word "may" gives sole discretion wtlhout any obligation to take any action.
          17. BoITOWel"s Copy. Borrower sball be gtven ODecopy of the Note and of Ibis Security
          18. Transfer of the Property or a Beneficial Interest In Borrower, As used In this Setti
 Ihe Properly" iDeans any legal or benefldallnteresl In the Properly, Includfng, but not llra\tad 10,
 interests transferred in a bond for deed. contract for deed. Installment sales contract or escrow a
 ofwhtch Is lhe transfer ottitle by Borrower at a future date to a purchaser.
          If aU or any part of the Property or any Interest In the Property is sold or transferred (or if orrower is not a
 natural person and a beneftdallnterest      in Borrower Is sold or transferred) without Lenderls prior written consent,
 Lender may requtre Immediate payment In full of all sums secured by this Security Instrument Ho yor, this opdon
 shall nol "" exerd,ed by Lender If such exercise Is prohibited by Applicable Law.
          If Lender exercises dtfs option. Lender shall give BolTower notice ofacce1eratJon. The no ce shall provide
 a period of not less lhao 30 days from the date the nOUco Is given In accordanco wtth Section 5 wtthln which
 Bnrrower must pay all sums aecured by this Security Instrument, If Borrower falls 10 pay these                 prior 10 the
 explradoo of this period, Lender may Invoke any remedies permllled by this Security Instrumen wtthout further
 notice or demand on Borrower.                                              .
           19. Borrower-II Right to Reinstate After Acceleration. IfBon'Ower meets certain cmidlU          IBorrower shall
  have the rightlo have enfomment of this Security Instnunent discontinued al any time prior to the lies! of; (a) ftve
  day, before sale of the Properly pursuanl 10 any power of sale conla!ned In this Security                ; (b) such other
  period asApplicable Law might specify for the terralnatlon of Borrower's right 10 re_te;        or (c)     ofajudgmenl
  enforcing this Security Instrumeot. Those condldons are that Borrower; (a) pay' Lender all sums hleb then would
  be due under this Security Instrumenl and the NOle as If no acceleration had occurred; (b) cures           default of any
  other covenan" or 'agreements; (c) pay' all expenses Incurred In enforcing this Security Instrum t, Incledlng, bul
  not limited 10, reasonable attorney,' re"" property inspecdon and valuadon fees, ami other fea>                ed for the
  purpose of protecting Lender', Inlerest In the Property and rights under this Security Instnunenl; . d (d) takes such
  action as Lender may reasonably require to assure that Lender's Int~ In the Property and rights der this Security
  lnsrrument. and Borrower's obUgation to pay the sums secund by this SecurUy Instrument, shall co nue unchanged,
  Lender may require that Borrower pay such reinstatement sums and expenses In one or more oflh folloWing forms,
  as •• Iectad by Lender: (a) casb; (b) money order; (c) corllfled check, bank cbeck, _er',        check r casllJer', check,
  provided any such check is drawn up~nan Institution whose deposits are Insured by a federal agen . instrumentality
  o<entity; or (d) Electroalc Funds Transfer. Upon reinstatement by Borrower, thl, Security Instrum I and obligationS
  secored hereby shall remain fully elfecdve as If no acceleraUon had occurred. However, this righ 10 relnstata sball
  not apply In the case of acceleration tinder SectloD l8.
           ZO. Sale of Note; Change of Loan Servlceri Nodce of Grievance. The Note or a partial terest in the Note
  (together wlth this Secutlty Instrument) can be sold one or mare times without prior notice to Borro       . A sale might
  resull In a cbaoge In the entity (known as the "Loan Servicer') thaI colleclS Periodic Paymen" d e under the Note
  and this Security Instrument and perfonus olher mortgage loan servicing obligations under the           te, this Security
  Instrument, and Applicable Law. There also ralght be one or more changes of the Loan ServItor               lated to a sale
  of the Note. If there Is a change of the Loan Servitor, Borrower wtll be given wrlUen nOUco of Ihe          go which wOl
  state the name and address of the new Loan Servicer the address 10 which payments should be
                                                           I                                                  and any olber
  Information RESPA requtres In connection with a notice of transfer of servtctng. If the Note is s Id and thereafter



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 Form 3022 01/01                                           Page10of13.                         '
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the Loan Is serviced hy a Loan Servlcer other thao the purcl1aser of the Nor<, the mortgage loan servI
to Borrower will remain with the Loan Serv:lC«' or be transferred to a successor Loan Servlcer and
by the Note percbaser unless otherwiSe provtded hy the Note purchaser.
         NeUher Borrower oor Leader may commooce. jolo. or bej.loed t. aoy jodlcla1actloo (as eI
lltlgaot or the member ofa class) that arises from the other party's actions pummllO this Security I
 alleges thai the other party has hreached my provIsl.n of, or my duty owed by •••••••• of. this S
 uotllsuch Borrower or uDder has ooUBed the other party (wlIh such noUce gIveJt In compllance with
 of Seetlon 15) of such alleged breach.and afforded the other party hereto a reasonahle perlod after        gMog of such
 notice to take corrective action. If ApplJcable Law provides I time period which must elapse befo certain action
 coo be takeo, thaI tlme perlod wtll be deemed 10 be reasonahle for PUl'JlllS"sof this paragraph. The noUce of
 a"e1eraUon and opportwllty 10 cure gtven 10 Borrower pursuant 10SectJon 22 and the noUce of                leraUoo given
 to Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportanity to take orrectlve action.
 provisions of thts Section 20.
         21. Hazardous Substances.       As used. in this Seedon 21: (a) "Hazardous Substances" are ose substances
 defined as toxic or hazardous substances, poUutants, or wastes by Environmental Law and the folIo           g substances:
 gasoline, kerosene, other flammable or toxic petroleum products, toxic pestlddes and herbicides, olatUe solvents.
 malerlals contalnlng •• h ••••• or formaldehyde. md radio.ctlve malerials: (b) "EnvIronmootal               u
                                                                                                          "means federal
 laws and laws of the jurisdiction wbe~ethe Property Is located that relale to heallh, safety or environ ental protectlon;
  (c) "Environmental Cleanupl' includes any response action, remedial aetton, or removal actl ,as defined in
 Environmental Law; and (d) an "Environmental Condidon" means a condldon that can cause,                   ntrlbute to, or
 otherwise trlgger an Envtronmeotal CI•••• p.
         Borrower shall not cause or permit lite presence, use. disposal, storage, orretease ofany
  or threaten to release any Hazardous Substances. on or in the Property. Borrower shall not do, nor
  to do. mylhtng affecOng the Properly (a) that Is In vtolaUon of aoy Ilnvtronmeotal Law. (b)
  Environmental CondUion. or (c) which. due to the presence, use, or release of a Hazardous SU
 condlHon th.t adversely affects the value of the Properly. The preceding two sentooces shall
  presence, use, or storage on lite Property of small quantities of Hazardous Substances that are g
  10 be appropriale to normal restdenUal uses and to malnt •••• ce of the Property (includlng,.h
  hazardous substances In consumer prOducts).
         Borrower .hall prompUy glveLander writtoo nodce of (a) any Inve.UgaUon, clalm. demand lawsuit or other
  acUoDby any governmeotal or regulatory .goocy or private party Involving the Property and aoy               us Substance
  or Environmental Law ofwh1cb 6orrower h,a5 actual knowledge, (b) any Environmental Condition, including but not
  Ifmjted 10, any spilling. leaJdng, discharge, release or threat of release of aoy H ••• rd01lS Subs ceo and (c) any
  condition cauSed by the presence. u~eor release of a Hazardous Subslance whicb adversely affe the value of the
  Properly. If Borrower learns, or Is noUBed by aoy governmOOlal or regal.tory authorlty. or aoy rtvate party, thaI
  any removal or other remedfaUon of aoy Hazardnus Substmce offecOng the Property Is necess               • Borrower shall
  promptly take lill necessary remedlal actions In accordance with Environmental-Law. NothIng he           shall create any
  obUgation on Lender for an Envtronmental Cleanup.

        NON-UNIFORM COVENANTS. Borrower and L<nder further covetUUtland agree                     foUows:
        22. Acceleration; Remedies;      Lender shaD give noUce to Borrower prior to aa:el radon following
 Benower's breach of any covenant or agreement In this Security Instrument (but not prior to         eratlon under
 Secdon Ig unIas AppU<able Law prnvldes otherwise). The nodce _             spedfY: (a) the del. t, (b) the aoUnn
 required to curt the default: (c) a date, not I••• than 30 daya from the d.te the DOUce Is gJv to Borrower. by
 wblch the default must b. curtd: and (eI) that fallure to curt the default on or befo ••• the d. spedIled In the
 notice may result in acceleradon of the sums secund by thiI Security InstnuneDt and sale of e Property. The
 notice sbaJl further Inform Borrower of the right to reinstate after acceleratlan and the rlgh to bring a court
 acdon to assert the Doo.exlstence of a default or any other defense of BOJTDWtI' to acceleratl    and sale. If tbe
 default is not cured on or before the date speclfled in the notice, Lender at its opdon may       uire immediate
 payment in fuD of aU sums secured by this Security Instrument without further demand a may Invoke the
 STATUTORY POWER OF SALE aod.ny other remedfes permitted by AppUcabl. Law. under ,baD be



 MASSACHUSms-Slng1e        femlly-Fennfe            MaeIFreddte Mile UNIFORM INSTRUMENt.   MERS lJoc/bgIrJ
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 endded to coUeet aD .xp.nses Incurr.d In pursuing the remedI •• provld.d In thls Seetlon 22,
 llmited to, reasonable attorneys' fe~ and costs of title evldenc::e.                             ,
         If LeDd.r 1m/ok•• the STATUTORY POWER OF SALE, Lend.r .haD maD a copy ofa odee of oal. to                                              ;,
 BDITll'IM, aDd to other p•••• " prescrib.d by AppUeehl. Law, In the manner provided by ppUcahl. Law,                                           ,.
 Lender shaD puhUsh the notice of sal., and the Property shaD h. sold In the manner preserlb         by AppUcobl.
  Law. Lender or Its designee may purchase the Property at any sale. The proceeds of the sale an be appUed
  In the foUowtng order: (e.) to aD txp.enses urthe sale, including, but not Ilmlted to, reasonable ttomeys' feesi
  (h) to aD _.    sec:ured by this 5ecurjty Instnuo'Dt: and (c) any ex•••• to the person or pmon legaUy endded
  to it.
         23. R.I.....    Upun payment of aD sums secured by this Security Instn1ment, Lender.         dlscharg. this
  Security Instnunenl. Borrower shall pay any recordatlon costs. Lender may charge Borrower a fee for releasing this
  Security Instnnn'Dt, but only If lit. fee Is pald to a lhlrd party f••. servlces reod""d and the      of th.l •• Is
  pennltted under AppUcabl. Law.
          24. Waivers.. Borrower waives aU rights Of homestead ex.mpdon In lit. Property and reDo
  of curtesy and dower in the Property.

        BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants containe             In this SecutUy
 Instrument and In any Rider executed by Borrowtr and retOrded with U.




 E9-----a--?t ,
 MICHAEL       D.    SCOTT
                                                  (S.aI)
                                             .Borrower
                                                                                                                 (Seal):
                                                                                                          " -Borrower
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 ___________                                      (Seal)                                                         (Seal)
                                             -Borrower                                                      .BDttOWer .




 ________                        ---'_-'-_{S.aI)                                                                 (Seal). .'




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                                          . Borrower                                                        -Borrower, " .
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 Witness:                                                       WilD"':




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 Form 3022 01101                                      Page 12 of 13               .




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    Commonwealth of Massachusetts

    County of e{\~         ral
.         Onthls    IOfh dayof
    personaJJyappeared MICHAEL
                                        JGn~~}
                                         D.SCOT'lI
                                                   dOO~ .beforeme.ihellDderslBD
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                                                                                                                 n~publlC.;                    '"


    proved 10me lhrough sadsfilclOty evidence of Idenllflcatloo. whlclJwere    ~cJwsJh                  {}f            I.~~
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    10be lite person wbose name Is signed on lite precedlng or attaclJeddocumenl. and acknowledged to m !hat (he) (she) .'
    signed IIvolunlarily for lis staled purpose,                                                    .
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    0 (•• partner ror
         a corporation)                                                                                                            ,,"                  "

    0 (  ..                                                              ror
                                                                                                                a corporation)::                        <:




    0 (as attorney 10 fact for
         lite principal)

    0 (as                                                                ror                                                                        "
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                                                                                                                Notary Public;. , ,';.
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                                                                                          Notaryl'ublic


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    MASSACHUSms--SIngIe          family-FannIe Mae/freddle Mac UNIFORM INSTRUMENT.    MERS Dot:N»gk:                                                               V I
    FOl1l'I3022 01/01                                      Page 13 of 13




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  MIN:     1000702-1074001467-3                                      Loan    Number':        107    001467
              ADDENDUM TO ADJUSTABLE RATE RIDER
          ThIs addendum Is made JANUARY 10, 2005                         lIlllllslncorporatedlnlO
  to amend and supplement the adJiJstabIe rate rider of the same date.                                   '.

          The property covered by this addendum Is described In the Security Instrument and 1        ted at:
       6 ERICK       ROAD,      UNIT     52,    MANSFIELD,          MASSACHUSETTS             02    48
           AMENDED PROVISIONS. 10 addldon to the provisions and agreements made In                  e Securtty
  Insrrumenl. lIWe further covenant. and agree as follows:                                                             "
                                                                                                                                    ,
                                                                                                                                  ',I   ;,
  ADJUSTABLE INTEREST RATE AND MONTHLV PAYMENT CHANGES
           Umits on Interest Rate Changes
           The interest rate I am required to pay at the flrst Change Date, will not be
          12.625%orlessthan                  4.125      %. Thereafter, my adjUstable Ioterest                         "',',

  be Increased. or decreased on any single change date by more than ONE AND 000/100
                                        percenlaga polnt(,)(        1. 000    %) from the rat of Interest I
  have been paying for the preceding six (6) montbs. My Interest rate wU1 nevet be              ter. than.             ,
                                                                                                                      ','

                                                                                                                      ,~'" .
           12 • 6 2 5 %. My Interest rate will never be less than          4 • 12 5 %',

  TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWB                                                   '.
  Covenant 18 of the Seturlty Instrument Is amended to read as foDows:
                                                           .                      I'
                     Transfar of the Property or • BenaBdaI Int_t         In Borrower. A!Jused In
           Seedon 18, Interest In the Property means any legal or benellc!allnlerestln the Pro
           Ioclndlng, but not Umited to, those benellc!aI Interests transferred In • bond for d
           contrad for deed, Installment sales contract or escrow agreement.,the Intent of which Is e
           transfer ofUne by Borrower at a future date 10 a purchaser,
                     If all or any of lhe Property or any Intereslln the Property Is sold 'or tianri d
           (or If Borrower is not a natural person and a beneftdal interest in Borrower is sol or
           transferred) without Lend,,', prior. written conseoi, Lender may require Imme te,,'
           payment In full of all sumssecored by this Sacorlly Instrument. However, thl' opUnn, aU .
           not be exerc!sed by Lander If sudt.exerclsels problblted by AppDcable Law,
                     If Lender exercises this opdon. Lender shall give Borrower DoOee of accelera
           The DoUceshaD provlde a pmed of DOt less then 30 days from the date the noUco Is
           in aceordance with Section 15 within which Borrower mWiI pay all sums secured by
           Security Instrument. If Borrower falls to pay these snms prior to the expiration of
           perled, Lander may Involre any remedies permitted by this Securtty InstnuneDt wi
           further notice or demand on Borrower.




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  ADDENDUM TO ADJUSTABLE        RATE RIDER
  FORM 1202 12102/03                               Page 1 of 2

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          In Wlbtess Thereof. Trustor has executed this addeodum,

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 lk-
  MICHAEL D. SCOTT
                                                                                      (Seal)
                                                                                   Borrower                 "




                                                                                       "
                                               (Seal)
                                           .Borrower

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  ___________                                  (SeaI)                                 '(seal)
                                                                                   .BQfruwer
                                           .Borrower
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   ADDENDUM TO ADJUSTABLE       RATE RIDER
   FORM 1202 12/02103                                   P1lge 2 of 2




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Case 1:24-cv-11614-AK Document 1-4 Filed 06/24/24 Page 17 of 25
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                             INTEREST .ONl Y ADDENDUM                                                                     '.~.' ':f: ., ;
                             TO ADJUSTABLE RATE RIDER                                                                            1-
                                                                                                                                     ~
  MIN: 1000702-1074001467-3
  Loan Number: 1074001467

  Property Address: 6 ERICK           ROAD,      UNIT      52,      MANSFIELD,         MASSACHUS              S
  02048


         THIS ADDENDUM Is made fhis lOth day of JANUARY,                         2005                   • and,1s
  incorporated Into and Intended to forin a part ofibe Adjustable Rate Rider (ibe "Rider") da1ed ib same date
  " this Addendum executed by the undersigned and payable to GATEWAY FUNDING                             '
   DIVERSIFIED          MORTGAGE SERVICES,                 LP, A PENNSYLVANIA                LIM TED
   PARTNERSHIP                                                                                 (the "Lender'1.

       THIS ADDENDUM sopersedes Section 4{C) of !he Rider. Noles are changed by fhis                      ddendum.
  None of the n,ther proVIsions of the Note are changed bY fhis Addendum.

  4.     INTEREST RATE ANn MONTHLY PAYMENT CHANGES

         (C)     Calculation of Changes

          Before each Change Date, the Note Holder will ralcuinte my new loteres! rate                   by adding
    FOUR AND 125/1000                                         per<:entagepolnt(.)(           4.           25 %)to
   lbe Currentlnd •• for soch Cltange Dsle. The Note Holder wlDlben round Ibe reJll!t of fhis'ad         don 10Ibe
   nearest one-elghlb of one percentage polot (0.125%). Subject to ihe Umlt. staled In Sectl             4(0). fhis
   rounded amount will be my new interest rate untU the next Change Date.

           During the Interest.Only Period. the Note Holder wUl then determine the amount of e monthly
   payment Ibat would be sufficient to repay accroed Interest. This wID be the amount of my mon y payment
   ontlI Ibe earlier of the 0"'" Cltange Dale or Ibe end of !he Interest.Only Pellod unI ••• I make a voJuntaJy
   prepayment of prloclpal durtng J1Ich period. If 1 make a voluntaJy prepayment of prloclp during the
   Interest-Only Period, my payment amount for subsequent payments will be reduced 10 the am              t necessary
   (0 pay interest at the then current Interest rate on the lower prlnc.fpaJ balance. AI the end of the I terest-Only
   Period and on each Change Date thereafter, the Nllte Holder will dettnnlne the amount of e monthly
   paymenl that would be sufficlen\,to repay In full Ibe unpaid prloclpal that I am espeeled to 0 • at ihe end
   oflbe Interest.Only Period or Change Data, as appllrabl.,10 equal montbly paymenls over                  remaining
   term of the Note. The result of this calculadon will be the new amount of the monthly p                . After the
   end of the Interest-Only Period, my payment amount will not be reduced due to voluntary                      ents.




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   INTERfST.ONL V ADDENDUM       TO ADJUSTABLE     RATE RIDER
   FORM 603F 12/03/03                               . Page 1 of 2
Case 1:24-cv-11614-AK Document 1-4 Filed 06/24/24 Page 18 of 25                                                                                                               ','o!.',

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                                                               .Borrower                                                                                    Borrower
     MICHAEL D. SCOTT
                                                                                                                                                                                                             "
                                                                                                                                                                                                                 ,

     _________                                                        (Seal)                -------_t::_                                                        (Seal)
                                                               .Borrower                                                                                    Borrower




     _______                                          -,.-_         (seal)                   _____                                    ~ _ _+::_ (SeaJ)
                                                                .Bonower                                                                                    -Borrower    I




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Case 1:24-cv-11614-AK Document 1-4 Filed 06/24/24 Page 19 of 25




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                                                                       Loan Number:          1074 01467
                                                                                                                     ..•.f.
                                       '.4 FAMilY RIDER
                                        (Assignment of Rents)

        THIS 1.4FAMILY       RIDER Is madethls   lOth dayof JANUARY,           2005                 .
  and Is Incorporated Into and shall be deemed to amend and supplement the Mortgage. Deed 0 Trust, or
  Se<:tIrtly Deed (the "Securtty Inslnlment") of the same date given by the IIDderslgned (the "B    wer") 10
                                                                                                                                          t
  se<:ure Borrower's Note to GATEWAY FUNDING DIVERSIFIED                         MORTGAGE
  SERVICES,          LP,   A PENNSYLVANIA             LIMITED       PARTNERSHIP
  (the "Lender") of the same date and coverlng lhe Properly desatbed In lhe Se<Urlty Jnsttmnent and ocate<!al:

       6 ERICK       ROAD,      UNIT      52, MANSFIELD,               MASSACHUSETTS           020 8
                                                 [pf(lperty Addr!ssJ
                                                                                                                         ..
                                                                                                                        ~
             1-4 FAMILY COVENANTS.            In addition to thecovenants and agreements made In
  Instrument, Borrower and Lender .further covenant and agree as follows:

              A. ADDITIONAL              PROPERTY          SUBJECT         TO       THE      SECURi
         INSTRUMENT.          In addltlon 10 the Property described In Seturlty Instnunent. the fotl
         Items now or hereafter attached to the Property fa the extent they are fixtures are added the
         Property descrlptloo, and shall also coostltute the Property covered by the Seturlty         t:                "-
         building materlals. appllances and goods of every nature whatsoever DOW or hereafter 1 ted .
         In, on. or used. or Intended (0 be osed In comiectlon wfth the Properly. Indodln8. bot
         Umlted 10, those for the purposes ofsupplytng or dlstribotlng heatlng. cnoBog, e1ectrtdty,
         water. air and light. fire prevendon and extinguishing apparatus. securlIy and access
         apparatus. plumbing, bath tubs, water heaters, water closets. sinks. ranges, 5
         refrigerators, dishwashers, disposals, washers, dryers. awn1ngs, storm windows, storm
         screens, blinds, shades. curtains and curta1n rods, attached mirrors, cabinets, paneling and'
                                                                                                         ,
                                                                                                                                          ,
         attached floor coverings, all of which, including replacements and addltlOM Iherelo, S       be                                  ~
         deemed ~obe and remain a part of the Property covered by the StcUrlty Instrument. Allo the .




                                                                                                                                          II
         foregoing together with the Property desatbed In the Security Inslnlment (or the            nld .
         estate lfthe Security Instrwi>ent Is on a leasehold) are referred to In this 1-4 Famlly Rid and.               I"

         the Securtty Instrument as lhe "Properly."                                    ;                               ,        1.
                                                                                                                              . "'   >,

              B. USE OF PROPERTY; COMPLIANCE WITH LAW. Bocrowershallnol                                                ~
         agree 10 or make a clwige In the ose of the Property nr Its zoning classlflcatlon, unless L .
         bas agreed In writing to the cbange. Barrower shall comply wfth all lows,
         regulatinns and requirements of any gnvernmen1al body appllcable to the, Property ..                        --i:

              C. SUBORDINATE            LIENS. Except as perotltted by federallnw; Borrower s
         allow any llen inferior to the Security Instrumentlo be perfected against the Properly wi
         Lender's prior written permission.                                                                           .f .
                                                                                                                 ,;" . ..:. ,' .
                                                                                                                       .f


   MULTISTATE.'.4 FAMILY RIDER
   Fannie MaelFreddle Mac UMFORM INSTRUMENT
   Form 3170 1fO'                                    Page 1 of 3
Case 1:24-cv-11614-AK Document 1-4 Filed 06/24/24 Page 20 of 25



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            D. RENT LOSS INSURANCE. Borrower shall maintain Insurance against rent                               ,
       In addidon to the other hazards for whi~ insurance Is required by Section 5.                              ,',

            E. "BORROWER'S            RIGHT TO REINSTATE" DELETED. SedJon 191sde!                                ..    • i




                                                                                                                                 I
           F. BORROWER'S OCCUPANCY. Unless Lender and BorrcnvOrotherwise
       In writing. Seetlon 6 conce~g Borrower's occupancy of the Property is deleted.

             G. ASSIGNMENT OF LEASES. Upoo lender', requ"t alIer default. B
        shall assign to Lander all lea'" of the Property and all securlty depc.lls made In conne
        with leases of the Property. Upon the asSIgnmtnl, Lander shall bave the rlgbtlo m
        extend or tenn1nate the exis~gleases and to execute new leases. in Lender's sole                                         i.
        As used In this paragrapb G, the word "lease" shall mean "sublease" If the -ty
        Js on a leasehold.
                                                                                                                 ,
                                                                                                                 \"

                                                                                                                 \
           H. ASSIGNMENT OF RENTS; APPOINTMENT OF RECEIVER; LENDE
        POSSESSION.  Borrower absolutely and uncondiUonallyassigns and ttansfers to
        all the rents and revenues ("Rents") of the Property. regardless of to whom the Rents 0 the
        Property are payable. Borrower authorizes Lender or Lender's agents to collect the Rents, d
        agrees that each tenant of the .Property shall pay the Rents. to Lender or Lender's ag ts.
        However, Borrower shalt receive the Rents until (l) Lender has given Bprrower nott of
        default punuanllo Sed10n 22 of the Security Ins_I and (ll) lender bas given noUce10the
        tenant(s) lhat the Rents are to be paid to Lender Of Lender's agent. This assignment ofR    Is           .\
                                                                                                                                 J
        constitutes an absolute lISslgnment and not an asslgmnent for addltional seeurlty only.
             If lender gives noUceof default to Borrower: ~) all Ren~ received by Borrower sb
        held by Borrower as trustee'for the benefit of Lender only, to be appUed to the sums
        by the _ty       Instrument; (li) Lender sball be endtled 10collect and receive all of the R
        of the Property: (ill) Borrower agrees that each tenant of lbe Property shall pay all Rents e
        and unpaid to lender or Lender's agents upon Lender's wrlUen demand to the tenant; ~v)
                                                                                                                                 I
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        unless applicable law provides otherwise. all Rents collected by Lender or Lender's agents all
        be applled flrstlO the <nsts of taldng control of and managing lbe Property and colledin lbe                             ~




                                                                                                                                 I
        Rents, including, but not limited to. attorney's fees, receiver's fees, premiums on retel    '5
        bonds. repair and maintenance costs, insUrance premiums, taxes, assessments and other
        on the Property. and then 10lbe sums securedby the SecurityInstrument: (v) lender, Lan r',
        '8'"l! or any Judldally appointed receiver shall be llable to account for only those R Is
        actually received: and (vi) Lender shall be entitled to have a receiver appointed to
        possession of and manage the Property and collect the Rents and profits dertved fro the
        Property Wlthoulany sbowlng as to the Inadequacyof the Property as securlty.                                             •,
            If the Rents of the Property are nol sufficient to cover the costs of taking control 0 and                           ,
                                                                                                                                 ~
        managing the Property and of collecting the Ren~ any funds expended by Lender for cb
        purposes shall become Jndebtedness ofBomwet' to Lender secured by the Security I            ent                          I.r
        pursuant to Section 9.
            Borrower represents and warrants that Borrower bas nol executed any prior                                            ~
         the Renls and bas oot performed, andwill not perform, any act that wnuJdprevent Lender                                  ,
         exerctslng I~ dgb~ under !h~ paragrapb.                                                                                 "
  MULTISTATE 1-4 FAMILY RIDER
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  Fannie MaelFreddle
  Form3170 1/01
                       Mac UNIFORM   INSTRUMENT
                                                  Page2 of 3
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                                                                               be
            Lender. or Lender's agents or aJudldally appointed recdver. shall not requtnd (0 er .
        upon. take control of or maintain the Property before or Bfter gtvlng DoUce of default to
        Borrower: However, Lender, or Lender's agents or aJud!daDy appointed recetver, may d so :                            ,
        at any tlme when 0 default occurs. Any applicatlooofRen" .hall not cure orwtlve any d~       t.                      ;
        or Invalidate any other rtght or remedy of Lender. Thls ••••gnment of Rents of the                                  .'",
                                                                                                                               ;        :

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        ,hall termlnate when oil the 'um' secured by the Securtty 'ostromen! ore paid In run.                           .. .~. , ,
            I. CROSS.DEFAULT PROVISION. Borrower'sdefaultorbreachlll1deiany
                                                                                                                            ~(
        or agreement In which Lender bas an Interest shill bi a bre.achunder lb. Se<Urtty'                      I'          :
        and Lender may Invoke any of Ibe remedles permllled.by Ibe Security 1nstnuneDt. .

        BYSIGNING BIlLOW, Borrower acceptsand agms 10the tetIns and covenants contalned thi,l-4
  Family.Rlder.
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  MICHAEL       D. SCOTT
                                               (Seal)
                                          -Borrower
                                                                                                     (Seal)
                                                                                                  Borrower
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                                          .Borrower




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   MUl.TISTATE 1.4 FAMIL.Y RIDER                                             DocMegIe~            ~"U'1Il                  'OJ

   fannle Mae/Freddie MflC UNIFORM INSTRUMENT                                              www.com                         .~: . i
   Form 3170 1101                                       Pllga 3 of 3                                                : ...   ~:'.
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Case 1:24-cv-11614-AK Document 1-4 Filed 06/24/24 Page 22 of 25
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                                                                        Loan Number: 1074               1467
                                  CONDOMINIUM                           RIDER
                                    .                             .                  .

       THISCONDOMINlUMRlDERtsmadetbls                 10thdayof       JANUARY,          2005
  and Is Incorporated Into and sball be deemed to ameed and supplement lbe Mortgage, Deed
  Securtty Deed (lbe "Securtty Instrument") of lbe same date given by lbe undersigned (lbe ."B
  secure Borrower's Note to GAtEWAY F1iNDING DIVERSIFIED                        MORTGAGE
  SERVICES,         LP, A PENNSYLVANIA                LIMITED       PARTNERSHIP
  (the "Lender" of the sarne date and covering the Property desatbed In the Security lrts1nuneot        oeated at:

       6 ERICK       ROAD,      UNIT     52,       MANSFIELD,             MASSACHUSETTS           02    8                     '..
                                                   (Properly Address]

  The Property includes a unit ln, together with an widivided interest In the common el                  IS of, a
  «!ndominlum project known as:

                                EDGEWOOD           CONDOMINIUM/PHASE             I
                                           (Name of CondomlnlU'lll Project]
                                                            .             .
  (the "Condominium Projed"), If.tbe owners" assodaUoD or other "entitY which acts for the Co           ominlurn
  Project (the "Owners Assodatlon") holds tide to property for the benefit or use of Us                     bers or
  shareholders. the Property also includes Borrower's lntemt In the Owners Assoclatlon and the us        proceeds
  and benefits of Borrower's interest.

   . CONDOMINIUM COVENANTS. In addtdon to lb•. covenants and agreemenis made In                          Securtly
  Instrument, Borrower and Lender further covenant and agree as follows:

      A. Condominium          Obligations.  Borrower sball perform all of Borrower's obligatio under!be
  Condominium Pr~Ject's Constituent Documents. The "ConsUtuent Documents" are the: (I) De I radon or .
  any other document wblch creales Ibe Condomlnlum Project: (tI) by-Ia",; (III) code of regulatlo : and (Iv)
  other equivalent documents. Borrower shall promptly pay. when due, all dues and 3Ssessme          imposed
  pursuant to the Constltuent DocumentS.                                          ..

   " B. Property Insurance. Solongasthe Owners Association maintains, with a gen                     accepted
  insurance carrier, a "master" or "blanket" poUcy on the Condominium Project whtth is satlsfact    to Lender
  and which provides Insurance coverage In the amounts (lncludlng"deductible levels), for the p ods. lUld
  against loss'by fire, hazards Included wUhin the term "extended coverage," and any other haZards neluding.
  but nOIUmtled to, earthquakes and floods. from wblcb Leeder require; Insurance. lben: (t) Le erwalves
  the provision 10 Section 3 for the Periodic Payment to Lender of the yearly premium Ins             ents for
  property lnsur8nce on the" Property; and (lI) .Borrower's obligation under Section" 5 to rriatni property           ."'    ',~
                                                                                                     provided                  ~,
  insurance coverage on the Prope"rty is deemed SaUsfled to the e'xtent that the required coverage
  by lbe Owners Assodadon polley.                                                     ;       .
       Wh~tLender requires as a condition
                                       .
                                              of this waiver can change during the
                                                                                .
                                                                                    term
                                                                                      , of the loan



   MUl TISTATE CONOOMINIUM        RIDER
   Single Fllmily-Fannle MaeJFreddle Mac UNIFORM    INSTRUMENT
  "Form 3140 1101.         .'                          Pllge 1 of 3




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Case 1:24-cv-11614-AK Document 1-4 Filed 06/24/24 Page 23 of 25



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        Borrower shall &lve Lender pronipt notice of any lapse in reqtilred pioper.y insurance cove
   by Ibe master or blanket polley.                                         .         ...
        In the event of a distribiltion of property Insurance proceeds in lleu of restmtlon or rep
                                                                                                                          .r "
   a loss to the Property, whether to the unit or to common elements, any proceeds payable to B
   benby assigned and shall be paid to Lender for appli~atlon to the sums secured by the Security
   whether or nol then due. with the .excess, If any, paid to Borrower.                                                  . .~.
        C. PubU'c'Uability Insurance. BOlTOwershall take such actions as may be reason
   that the Owners Assodation maintains a pubUc liability Insurance poUey acteptable in form,
   extent of coverage to Lender.                                                  '
                                                                                                                              ;f.
        D. Condemnallon. The. proceeds of any aWllld or claim fOr damages. direct or co
   payable (0 Borrower in connectlon'wUh any condemnallon or other taking of all or any part of
   whether of the unit or af lhe ConlII~an elements. 'or for any conveyance in Ueu of conden:tnatlon
   asstgned and shall be paid to Lender. Such procee'" shall be applled by Lender 10 Ibe sums se                     ~' ,t .\ ,
   Security Instrument as provided In Section 1 t.
                                                                                                                          .f
         E. Lender's Prior Cons$nt. Borrower shall not, excePt after notiCe to Lender aDd
    prior written consent, either par!1t1on or subdivide the Property or co~ent to,: (I) the aban
    termInation of the Gandomlnlum Project, except for abandonment or termlnlltion'required by 1a
    of subslandal destruction by fire or other casualty or In the case of a taking, by condemnadon
  . domain: (II) any amendment to any provision of the Consdment Documents ifthe.prov1slon Is for
    benefit of Lender; (ut) te~tlon       .of professional management and asswnpdon of self.m~ag
    Owners Association; or (Iv) .any ,action which would have the effect of rendering the public llablli
    coverage main~ed'by.lhe       Owners AssociatiOn unacceptable to Lender ..

      . F. Remedies.        If Borrower does not pay condomlnJum dues and assessments when due:         Leoder
   may pay them. Any amounts disbursed by Lender under this paragraph F shall become addld              debt of
   BOlTOwersecured by the Security Instrument. Unless Borrower and Lender agree fo other terms payment,
   these amounts shall bear Interest from the date of disbursement at the Note rate, and shall be 'pa ble. wtlb
   intere!t. upon notice from Lender to Borrower requesting paYment.




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   MUlTISTATE CONDOMINIUM RIDER                         .                            Dodd4tglc~
   Single FllmlJy-Fannle   MaelFreddle   Mac UNIFORM INSTRUMENT                               WWW.
   Form 3140 '/01 .                                    Pllge 2 of 3

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Case 1:24-cv-11614-AK Document 1-4 Filed 06/24/24 Page 24 of 25                                                                           ...


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     BY SIGNING BELOW, Borrower               ' ' 'PIS and agnl" 10 the terms and cov.nant"~"
  Condominium Rider.                                                                '.




              D. SCOTT
                        .#        .
                                                 (s.al)
                                            -BOrrower
                                                                                                                 (St2I)
                                                                                                             Borrower


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                                                 (s.al)                                                          (Seail
                                            -Borrower
                                                                                                 ,       "
                                                                                                             Borrower


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  ________                            ~..        (seal)
                                            .Borrower
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  MULnSTATE CONDOMINIUM        RrDER                                             ~e~                              """'I
  Single Famny-Fennle MeelFreddJe Mac UNIFORM        INSTRUMENT                            WWW.                 ~.aJf(I
  Form 3140 1/01                     .                 Page 3 of 3




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Case 1:24-cv-11614-AK Document 1-4 Filed,06/24/24
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                                                  Page 25 of 25
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        The Unit known as number 52 in Edgewood Condominium, a condominium established
                                                                                       '".':f
pursuant to Massachusetts General Laws, Chapter 183A, by Master Deed dated April 2, 1984
and recorded at the Bristol County Northem District Registry of Deeds in Book 2467, Page 88, .' ,,'
as amended by Phase II Amendment to Master Deed dated March 19, 1985 and recorded in                     ,.
Book 2671, Page 167, as further amended by Sub-Phase IIlA Amendment to Master Deed dated :' "
April 18, 1986 and recorded in Book 2945, Page 209 as further amended by Sub-Phase 1I1B             ,,:;
Amendment to Master Deed recorded in Book3031, Page 311, as further amended by Sub-Phase ' i
mc Amendment to Master Deed and recorded in Book 5218, Page 138.                                   .',. ,:'1;. ,
          Together with a 1,190 percent interest appertaining to said Unit in the common areas and'       "
facilities of said condominium, and together with the rights and easements appurtenant to said " '"
Unit as set forth in said Master Deed, as amended, Attached to the Unit Deed at Book 2990,         .
Page I 00 are copies of the plans attached to the Master Deed, bearing the verified statement of a",' ','
                                                                                                                  I'
registered architect or registered land surveyor certifying that they show the unit designation of '~,,' )"
Unit 52 and of immediately adjoining unitS, and that they ,fully and accurately depict the layout ':;' ,c'
                                                                                                          J"
afUnit 52, its location, dimensions, approximate area, main entrance and immediate common .;.. .T~
 area to which it has access, as built.                                   '                         ': <'
          Subject to the terms of the Master Deed at Book 2467, Page 88, as amended from time to ' ',;,
time as set out above, the Condominium Trust at Book 2467, Page 122, as amended from time to':" ';,
time, and the by-laws of the Unit Owners Association,                   "                            ,', ." ,
          Subject to a right of way reserved in a Deed from Leila G, Atwood to John R. Bums et aJ;.                !~,,'
dated May 12, 1948 and recorded with said Deeds in Book 906, Page 530, if the same is in force.            \
and applicable,                                                                         .'      ',:' "
        Subject to a permit with conditions issued by the Department of Natural ResourCes of the , :
Commonwealth of Massachusetts dated September 27, 1971 and recorded with said Deeds in
Book 1595, Page 305 as affected by a Certificate issued by said department dated April 4, 1973 .
and recorded in Book 1632, Page 792, to the extent applicable.
        Subject to a Variance issued by the Town of Mansfield Board of Appeals, dated April 18, "
1973 and recorded in Book 1632, Page 796.                                               ',           '.
        Subject to an Easement to New England Telephone and Telegraph recorded in Book                "
2323, Page 65.
        Subject to a Drainage Easement reserved in a deed from Edward M.stivaletta, Trustee to
Peter Tsimortos et ai, Trustees, dated January 31, 1974 and recorded in Book 1654, Page lOll.
        Subject to an easement to the Town of Mansfield by Edward M, Stivalelta, Trustee, dated '
September 28, 1-971 and recorded in Book 1596, Page 425,
        Subject to a Cable Television Easement and agreement granted to Massachusetts
CablevisionSystems,     me, By Malcom B. Post, Barbara S, Post and Shirley B. Coleman,
Trustees of Edgewood Condominium Trust, dated November 15, 1984 and recorded on
December 12, 1984 in Book 2608, Page 329,
        Subject to any other easement restrictions, covenants, conditions, and/or agreements of
record, if any, insofar as they may be in force and applicable.

        For title see deed recorded herewith,




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